                                       Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 1 of 35



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                                    Fax: (510) 834-1928
                                4   Email: edreyfuss@wendel.com
                                5   Attorneys for Susan L. Uecker, Receiver

                                6

                                7                                UNITED STATES DISTRICT COURT

                                8                               NORTHERN DISTRICT OF CALIFORNIA

                                9                                     SAN FRANCISCO DIVISION

                               10

                                    SECURITIES AND EXCHANGE                        Case   No.   3   :1   7-CV-00223-RS
                               11
                                    COMMISSION,
È
J
J                              t2                 Plaintiff,
Es
oBf                            13
"ð:ã                                       VS
ãñ8
ñ --.9
                               I4
                                    SAN FRANCISCO REGIONAL CENTER, LLC;
c   ñ;
o9ò                                 THOMAS M, HENDERSON; CALIFORNIA
                               15
É-;
o-!
 -: -                               GOLD MEDAL, L.P.; CALLSOCKET, L.P.;            STANDARDIZED FUND
õð
þ                              T6
                                    CALLSOCKET II, L.P.; CALLSOCKET III,           ACCOUNTING REPORT FOR
c
o                                   L.P.; COMPREHENSIVE CARE OF                    CONSOLIDATED SEC VS. SFRC
I                                   OAKLAND, L.P.;NA3PL, L.P.; WEST                RECEIVERSHIP ENTITIES FOR
                               11
                                    OAKLAND PLAZA, L.P,; CALLSOCKET,               REPORTING PERIOD:
                                    LLC; CALLSOCKET II, LLC; CALLSOCKET            JANUARY 1,2018 - MARCH 31,2018
                               l8   III, LLC; COMPREHENSIVE CARE OF
                                    CALIFORNIA, LLC; IMMEDIA, LLC; ANd
                               19
                                    NORTH AMERICA 3PL, LLC,
                               20
                                                  Defendants,
                               2I                 -and-
                               22
                                    CALLSOCKET HOLDING COMPANY, LLC;
                                    CALLSOCKET III HOLDING COMPANY,
                               23
                                    LLC; BERKELEY HEALTHCARE
                                    DYNAMICS, LLC; CENTRAL CALIFORNIA
                               24
                                    FARMS, LLC; and Jl. GATEWAY, LLC,
                               25
                                                  Relief Defendants
                               26

                               27

                               28


                                                                                                                         3 : 1 7-CV-00223   -RS
009589.0024\508   I   591. I
                                    STANDARDIZED FLIND ACCOUNTING REPORT
                Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 2 of 35

                  STANOARDf¿ED FUNII AOCOUNTING REpORT for Consolldate{ SEÇ ve.                                 SF.   RG ReceÌvership Entiiles-Câsh Bäsis
                                       G¡vll Coud Case         Ño,3:1Z.cv{022}Rq
                                                          1   to Deiembèr3,l,,2017

          D

                                                                                                                                                            Refeiónce
                 Begtnnlng Bãiancó (Ad ofJanuãry                     l,   2otBl                                                          46,2r2,613.47
                 lncreases l¡r FunQ B:alance:.
           2                lncome                                                              4,135.860.51            4,135i060,5f
   !,lns 3              ãnd Sscuritles,TranEforÐ and TUmOVÞr                                    1,3õ5, r85"38
   Llno 4        lntdisóUDlVldend lncoms
                                                                                                                        1,355,1ô5.3S                              I
                                                                                                   32,038.94               32,03.8,94
           5     Buslnees As8et: Llquldátìon                                                             ö.0ô                   0_00
          0      Psrson'ql Asset Llquldaüon
          7      Thlrd.Party Lltlgation I ncome
   Llng   I      Mlscellan€ous . Othôr                                                              6,,838.22              6,838,22
                   TotÊlìFunds Avãilåbt€ lLtÌiesi f = Bl;                                      5;529.903,05            õ,629,S03.05      5l,lt*;llõ.s2
                                      ln Fund Balance:
          I      Olsbursoments to lnvestora
          lo     DlsbuÈements lor Recelvarship Opþratiôns
  t ine 10¿t     Drsårrsêfier?ts [o Reçeivelor Othor Ptafossianats                             1,150,000.00            1,1q0,000,00                               2
  L!ne 10b                 Àsso, ExBor,seS                                                     4,15r,235:.50           4,151,235,50,
       10c                     A$sef E*penses
          1Ad    lnve$tment Expenses
          10e    Yhird-Pa rly Utigatian E x pe nse t.
                     1. Attomey Fees
                     2. Litlgation Expqnçgs
                  Tp¡E!_Th@:P_eí,y_Llttsptiql_Ex¿o_n_s*es
          10f   TBx Adm¡nislrator Fees and Bonds
       log      Fedoæl and Stalé Tax paymonts
                  Toþ.1 91_s_Þu|Þojnel!$" fp          r   ioçejrqlF hip
  Llne 1l                                for Dlsûlbution Expenqeg Paid by the
       1'[E         Disttibution Plan Develo9:66¡¡ Expenseo:
                       Fees;
                              Fund Admln¡stratoi,
                              hdependeni Dlqtributiçn CÒnsultanl (lÐC) .,,..
                              DlstrÌbutlon Agent _.. _...,.
                              ConsulPants.., ,,. ..
                              Lsgal AdviSerB..,..
                          ïax Advlsers,,....
                     2. Adminlstrailve Expenses
                     3. Miscottaneous
                    T-o!a.l,E!e\p,tî.yp!çpJr,e1!:FÅpeps_es
      llh          Dlslrí.but¡on ptan lmplêmêñlation E*penses:
                     '1,.   Feesi
                              Fund Adm¡n¡stråior,
                              r0c..,...........
                             DJstribut¡on Aoent-._...
                             Cofisultants.,. ..
                             Lêgal AdvtééiÈ,.....,..,,
                             TÍix Adùisórs,., ,.,.
                    2. Adminlstrative. Expènses
                    3, lnvestqr ldent$cstfon:
                             Noltce/Pubtishing ApøoveO plan...,....,...........,,..,..
                             Ctaìmsnt ldenufrcâtion,. . ... ... ...,., ...
                             Claims procêsslnS............,-........
                             Web Slte Mainlenanoe/Call C.,tt*. .....,,....,,...,,,..
                                                                                     :.
                   4, Fund Adminíslrátor Borid
                   :5: Mlsc.ellaneous
                   6. Federal Acçount for tnvêStor Restitution (FAIR)
                   Rèpofiing Expenses

                rsk!
     12
l:ine'l2a
                                                                      lnvêstment
L¡ne 12b          Fedenl       Ta.x   Faymenfs
                Totå l Dts ¡eomo n telTie nstG--rs Bo twee n
                              b u
                                                                            E n tt   Ües        55;455.29
                Tolal Fond$ Dt¡buise.d (Llnes g                                                                      55,45 ;29
                                                      I 1):      -                          15,301,235.50         5,301,235.50          8,386,690.79
                                                                                                                                                             1

Llns 13                 Bàlanêé (As          ofMarih g1, ZOlEIt

    14a                     & Cas/r Egu,Valents                                            ,46,386,025.73       4ô.386,025.73

                                                                                                                                                             7   /ttt¡t¡g
                      Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 3 of 35

         .14b               /nyestm6nts
         1.4c            OflierAssels o( Unclsatgd Funds
                       Totai Endlng Balance oi Fund - N6t Assots                                  4ôi3EÕ,02q.73          46,3E0ì025;73                    7,3                2


    oTHER SUPP|iEMEñTAL TNFORMATTON:
                                                                                                                           $ubtotål
                     Rêpo¡l of ß6ms          irOI fo Ee Patd by the Fund:
    Llno 15          Ulsb'ursemenß. foÍ Plan AdmInlBtrât¡ón Expons6s.Not PâId by the Fundi
         l5å            Plan Devôlopmenf gxp6nr6s Not Paid.by tha Fund:
                             1, Fees:
                                  Fund Adiriíni{,halor... .....,,......... .,...
                                  rDc
                                  D{strlbuf¡ort
                                  Consúlienls..
                                             ^Sent,..,,.,,..,..,,..,,..
                                                ..
                                  Legal Adviserg....      .


                                  Tax Advisers.,. ...
                            2. Adniinidtrative. Expenses
                            3- Miscellaneous


    Ltne 15b            .PIa.n lmplomentatJon             Expenses Nol Paid þy the Fund:
                            I " Fees:
                                  Fund Admínislrator..:., ....,,.,.... ......,.
                                            .
                                  lDC ... .,:...¡.,..¡.......¡.....
                                  Diskibution Agent
                                  Consultantr.,,,,,.,..
                                  Latgal Adùlsorr,.
                                  Ta)(   Adviseß...   ,


                            2, Adnìhlslralive Expenseg
                            3. lnvestor lddntificdlion:
                                 Notice/Publlshíng Approv€d Plan....
                                 Clalmant ld€ntíficallon...
                                 Claims Procoss|nS",,.,....,...,.....,,,.,
                                 Wêb.Slte Ma.¡ntenånoe/Catl 0enter.
                            4, Fund Ad¡rnlnlstrato," Bond
                            5. Miscellaneous
                            6. FAlR,Reporting Expenses
                        TqþlElo!:fi         p"l,e-41e.¡!å1¿orF¡ppf rsp_s_t-,tolFa jdby
Line 15c                Tax Adm¡n¡slratof Fees                I   Eonds Not Faid by.the Fuhd
                                                                                                                  tha
Llne lü             Dlsbürsemsnt8 to Couruother Not Pald by the Fund:
Lhe     16a             lnve stme    il    ExþpnsesÆR/S, FÊss
    Line 16b            FridefttTax,Fayments
                      Toþlpl-!-Þt¡-ß""9"m-s-_r'tr.!8,,q-o.u(u_p-glsr-N"e(F_cld_-þylIc
Line'17                 & Ståte Tâx
Llne l8             No, of    Clalris:
¿rh6    l8ð             *ot     Clalms Recetved This Repodlng ped\d.,....,,....
Line 18b                #   ol Clølms Reæ/yêdsince lncepilon of Fund.........
Llns    19.         Nô. ôt Clslm€nts/lnveetórs I
Llne tga                # of ClaÌmantsllnvestors Pald This
Llne 19b               f  of                     Pa¡d                              of Fund-



                                                                                                      Amount                            Àlotes

1
                I
                    DtsbursementS.to Recalver or Other Professionals.                             1,   1   50,000.00'This.number ls reflected    In .the SFRG reporl.

2               fTotal enOing Balance of Fuhd                     ,   Net A¡sets                46386,025.73                   9scrow             0f $J6,8õ4;345.00i


                                                                                                                                                  ¿

                                                                                               DáIe




                                                                                          a
                                                                                                                                                                        -t
                                                                                                                                                                             /1Q/08
             Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 4 of 35

                STANDARDTZED FUNDAÇ-COUNTt¡lG REPORT tor oall Sockçl LP ReceiveÍthip-Cash Basis
                Rec€lvership Çlvll Coun.Ç€s€ No. 3Ìl 7-ov-00223-RS
                         Period:          l tri March 31 201              I
F      D          HTING

Line   I        Bgglnnln! gêlahca (A€ of ianuary 1, 201 0)                                                       5S7;382:6i
                lncrease5 In Fund. Êalence:
Llne   !        Buslness lncome                                                             0.00          0,00
Llne   ¡        caBh end sscurltl€6-Sbc DÞp RofunilTwlttôr
Llno   4        lntorest/Dlvldend lnceme                                                 4i0;67         410.67
Llne   5        Buslnrilss AEBirt Llquldstlon
Llne   6        Perãonal ASEet Llq0ldãllôn
Lln€   7                     Lltigatl<in lncomo.
Llne   8               lãneous.. Olhsr
                  Totgl Ft¡nds Avallab¡ð (Llnos             I   -   8)r                  410.t7         410167   6Ð7i793.84
                Decreases In Fund Balanee:
Llne   I                               to lnvEstoÉ
       10                              for Recelvershlp gperallone
       10a      Ðisborsements tp Raceiverfiransforlto SFFC                                  0.00        0.00
       10b      Euilnéss Ássel Expe¡sqs                                                 7,t73.47    7,073.47
       10c      Pp¡sona/ Asset Expenses
       10d                     Expenie
       10e      Th¡ d. P ã tty LìUgatirn Expetses
                    l.,Altorney Feesl
                    2: Lltigatton Exp-enseg
                  Loþ!^T-ll!É:P-eJ jv-!-i!!þa!!"ôn:FlpÊn-ç-e.$-.-..-"
Llne 10f        Tax Admintstrator Feas and Bonds
Llne 109        Federal and Stalë Tax Payments
                                                                                                    7

Llne 1f        Dl8burs€ments lgr DlsFibgtlon Expensgs Pald by the Fsnd:
       1la        D lstrlbuliciri Plt n Devel'oomanf 'Expenses:
                       1. FeêS,
                            Fund Adminlskãtor,., ...,.. ,.. ,., ,....,.
                            lndeþeirdent Dlslributiorì Consultant (lDC):.,.....;.
                            Dístr¡bution Agent...
                            ic,ohieullânls;...., ......
                            Le. gal Advìsers... .

                            Tax Advìsors..,...
                       2. Adminlstratlve Experises
                       3, Misçellaneous
                      To!e!:F_!pe-Epw!o_ps?p/r_{-E{p_cc{e"-s
Line 11b              Dlslri butÌo n Plan I mplemenlâljon Expênses;
                       1. Feesi
                            Fund AdministratÕr.,...,.,




                            Legál Advisers....,.
                            Tax.Aóvlþers;,. ,,.
                      2. AdminlstrÊtive Expenses
                      3. lnvesior ldentiflcâtlon:
                            No{ice/Publishlng Apprgved .Plan,,, -
                           :Cleimrnt ldentificâtlon..
                            Clâims.Þrocasslng,.., ..., ..,.,,...,..,...,.,,,.,.,
                            Web Slte Malntenanc€/Call cê.ntet,......,.,.,.,...,....
                      4. Fund Admlnlstrator Bond
                      5. Miscellaneous




Line 12                               to Couruothon
Llne 12a          .lfive stme.nt Ex pênses/Oourf Reg i str)/ l nva stme ¡ tt
               Sy¡lem ICRlS,l Fees
    12h            Fgd3râl Tax Paymènts
                 Total DlsbursomentsfTransior tg SFRc                                 40,376.19    40376.19
                 Totsl Fûnds Dlsbursed (Llno8 9 - l1):                                 7,973A7      iors,¿r      47,449:66
    l3         Endlng Balance (As of 'March 31, ?018)1
              Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 5 of 35

Llne 14              Endlng Bàlaìco of Fund N€t Ass6ts:i
LInè 14a                Câsh & Cåslt Equivelents.                                                    550,343.68   550,343.68
l:lne 14b                Inu.aÉtrheñts
Llnè l4c                OflrE,'iqssels ot ancbaivd Funds
                      Total Endlng Baiance of Fund - Net Assets                                      550,343,68   550,343,ô8   _____õ5!;34X99.       't


OTÍ{ER        SIJ   FPLEMEIITAL INFORMA'TTON:
                                                                                                                                   Gmñd Tolól
                               of lterns NOT      lq'Ba     Pald      by lha Fand:
Llne"tõ                             for Plqn Adminiohatlon Exponoog No Fald by the Fund:
Llne    löa              PJaù OevoloBmentExpenses NptPgid bytha Fund:
                          l, Fees

                                 Distdbut¡on Agènt,.,
                                 consultante,,..,...,..
                                 Lêgål Advl$sß,,, .
                               Tax Adviçp¡q..,,..
                          2. Adminlstrative Expenses
                          1. Mlscel[aneous;


Ltne l6b                 Plan, lmplementatlort       Expétses.,Vot Paid by thg Fund:
                          i.   Fees:
                                 Fünd Adminisliator,..........
                                 tDc.     .. .. ........
                                 ÞlstriþLrtlon  Age¡t:,,,.....   .., ... ,..   ..,.,,.,,...
                                 Consultants,.,.........
                                Legãl Adv¡s€rs....
                                Tax Advisers......
                          2: Adìninlsf ràt¡ve Expense-s
                          3, lnveËtor ldentlfl catlon:
                                Noiìõe/Þuilåh¡ng Approvèd Plári,......,. ........"...,,
                                0lalmânt .ldçr'ttifçât¡onì
                                 ClÊimq ProoÊsg|ng..,.,.::..::.,,,...,,,
                                 Web Slie MaiOtenancel0ail Center,,....,,...,,.,,, ...,
                         4, Fund Admiñlstraior Eond
                           5, Miscellaneous
                          ô. FAIR Reporting Expenqes

l:ine 15c
                         "9þ | PJp0- !¡¡'p.!p np al?tleQ Erppr çp 9 N-e!:P Eld b v-tbe.EuJ.d*
                        r,

                        Tax Adrälhistràtor Jtrees & Eonds:Â/¡t Pald hythe Fund.
                                                                                                     -. -   *

Llne    l6          Dlsbursemonts to Court/Othor Not Pðid by ths Fund:
Li¡ia 1,6a              lnve slms nt Ex penses,/Cft/S Fees
Lihâ 16h                Federal Tar,Payrnenfs
                      T.ot¡l _DL8!_uf83!n€!t_s- !9 Courvo$gllLo*t Pald _bI
Llne    lT              &           lãx
Llne    l8          No. of Clalms:
Ltrne   l8a             # ol Glalmp Reçeived This Repoftlng Period,...
Line 18b               # of Clàins Received Sîncø ! nceþtion al F irhd...... ......;., . !, ; r., !...
Llne    1S          No¡ Ef Qlaimantsrlnvestorie;
LIne 19a               # ol Cta¡ñants/tnuesforô Pad This Repofting PerÌod....,
Llna 19b               # of ClÊìm qnts/l nvastor¡ ParU Srn êe I nce ption ol Fund..,.., .... .,.




        #                                            It6m                                                                      Notês

                    [Iotaf Endìng Balance of Fund . Net Assets                                   55û,34S.68                            $549,075.00




                                                                                                                       (
                                                                                              Date
                      Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 6 of 35

                                                        Çall Socket LP
                                                Susan  L. Ueckgr, Recoiver
                                                      Ealance Sheet,
                                                      March 3'l , 2Ot8

                                                            ASSE, tSr


Cunsnt Assets
Escrow Mkt - Boston Private           $       iio)J4J,6E

 l-otel Current Asiets                                                   55Q,343.6E

Property and Equlpment

 Trtal Propelty and Equipment                                                    0:00

Other ¡\ssets
Receivable from Fed Rec                         7,200.00

 'Iotal Other   ASsets,                                                    7,200,00

 Total Assets                                                  $         s57.543.ó8



                                             ;I,IAI}ILITIES    A,N   D CAPTTAL

Current Liatrilities
Fundjng from CS U!                    $,      541 2:52,69

]'otal Current Liabìlitíes                                               541,252.69

I-ong;Term Liabil ities

Total Long.Terrn Liabilities                                                     0.00

Total Liabilitles                                                        541,2s2.69.

Capitat
Reuíned Earnings                           (t,336,13t,0s)
Turnover llunds                               935,1 89,68
'l-urnovçr of investbr Funds                  549,075.00
l'urnover to SFRC                            (125,t79,81)
Net lncome.                                    (6,662,80)

Total Capital                                                             I6,2e0.9e

Total Liabilities & Capítal                                   $          557,543.68




                                       Unaudited - For Managemonr Pi¡rposes Only
                   Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 7 of 35

                                                                                    Page:1
                                                    Call Soct<e,l LP
                                               Susan L. Ueclter, Receiver
                                                   incorne Stafement
                                               For the First Quaner 2018

                                       Current Quarter'
Rovcnues
Ihterest.lncorne                  $'           410,67

Tòtal Reû€nues                                 4 10.67




Expenses.
Employer PayrolI Taxes-RW                    t,420.9,1
Payroll Service Charges                         572.50
Tax - Payroll/Property                       5,080.00

Total Exþenses                               7,0'Ì3.47

Net lnoome                        $         (6,662.80)




                                            For Management Pu.rposes Only
             Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 8 of 35


               STANÞARD|ZEÞ FUND ÀCCouNTlNe REPO-RT fsr Call Sosketrll LP Receivershlp-Caeh Baoh
               Receivêrship Civil Coud Case Ñ0. 3117-cv.00223-RS
                         Perioel:       I to March 31 , 2018
FUND                               I


Line   1       geginning Bâlanco (As of January 1, 20{8)                                                                21 85ð.6E
               lncreases tn Fund Baience:
       2        ueinoss lncome                                                                        0.00       0.00
       3            end SecurltiEs
Llne 4                          lncome                                                                0.00       0.00
L¡ne 5                    Ass6t LiquldetionlRoclaes Rent Deposlt                                      0.Q0       0.00
Llne G                   Asset Llqu¡dãtlon
Line T                     Llt¡gát¡ón lncori€
       I       M lscellaneous . Refu.nds                                                              0.o0       000
                 lotal Funds Avallable (Llnes 1 - 8):                                                 0;00       0"00   2i,858.68
               Oecreases in Fund Balance:
       s                                to lnvsstors
       't0     Dlsb-ursements fof Roceiverohip Operations
       10a     Ð/sôur.sements .to Recelvør or Olhêr ProÞssrbna,s                                    0:00         0.00
       10b     Busines¡ Assof Expense$                                                          6,779,5q     6,77S 58
       il0c    Persona/ AÊtet Expenses
       10d     /nvaslmenf Expenses
       10o     Th ¡ rd -P any Lît¡ gaûon Expenses
                     1. Aüoiäey Fees
                     2 Litigetion Expenges
                 rota-Tl1 jrúP..alt!.lf ¡[qÍo¿!-¡Æe/?sl}e
Line   lof     Tax Adm¡nistator Fe€s and. Bonds
Line 109       Federal and.Statè Tëx Payments
                Total Dfsbursemenls for Rece¡vêñsh¡                       Opgraþns              '6'           779.58
       11      Dlsburseme.nts lor Dlstrlbutlon Erpenses Paíd by the Functi
Lihe 11a           D   l¡t ri þ u li on,P I a n' Deve I o p m e nt Expenses;
                    1, Feesl
                           Fund Adm¡n¡stia|ar.............
                           lndependent Distrjbution Consullant (lDC),.....,.
                           Dlstribution Agent,
                           Consuitants...... ...
                           Legal Adv¡sd¡s,.
                           Tax Advisers'.
                    2. Admin¡strative Expenses
                    3, Míscollâneous
                   r.e!p!Pl1î*P_9-v-eJapnøf _äp*eq$"gp.
       1lb        D isl¡ibutton        Flan I mplernentaflon Ëxpenses:,
                   L    Fqgs:
                           Funld Administrator



                           Consultants;., ...
                           Legal Advlsers.,
                           T,ax.Advisers......                       ¡.¡¡.¡:..:i.;r.,;.....
                   2. Adminlstrative Edpenses
                   3" lnvestor ldêntificâtionr
                           Nolice/Fubllshing AÞproved P|ah..,..,..,.., .,, ......,,.
                           Cli¡irnant ldentification........,...,.
                           Clalms Proces8|ng.,...,..,..........
                           Web Sile Maintenance/Call g€nter"..,...,.,..,.......,
                   4, Fund AdmlnistratoíBond
                   5. Misceiianeous
                   6, Federal Accounl for lnvestor Restítution (FAIR)
                   Repoüìng Expenses

                                                                                         Faid
       12      Dlsbursements to CgurUOthen
       1?a        Investment Expenses/Oourl Regislry Inve lment
                      ¡CR/.9):Fees
Line 12b          Fede¡al.Tax Pqfisnts
              Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 9 of 35


                 Totaf Disbúrsementsff iãnefer to SFRC                                                                 15,079,10              15,079,10
                 Totsl'Funds,Dlebursed (Llhes 9 - 11):                                                                  6,779;õ8               ô,77 9.58       2f ,868.68
Llne   l3       Endlng Balance {Ae of March Slli 2018):                                                                                                               0.00
Llne 14
LIno l4a            C€sh & Cash Equivalenls                                                                                   0.00                 0,00
Line 14b            /nveslmeøls
Linê 14C            Ofltor As$èfs Þ t Unclêared Fundô
                  Total End¡ng,B¡lâncs of Funcl - Nqt AÊ€Ets                                                                  0,00                 0,00
                                                                                                                                                           -----0-¡õ'
OT}IER SUFPLEMENTAL IÑFORMATION:
                                                                                                                     DÊtall                 Subtofal        Gfand Iotel
                Reporr otrrerns NOf            fo   Ee,Falct Þy the Fund:
Llne   l5       Þlsbursom€nls for Flan Admínlstratlon Expenses Not Þald by the Fund;
Lìnø 1:fu           Plan Developmenf Expenses Nof pald                            þl   the F.:und:
                    1, Fees:
                          Fund Adninistratoi...............
                          rDc.,....,...-....
                          Diôtr¡buflori Aqênl.,,.,..,. ..,.; : ;:: :!,.-..::,      :: :.1:.   : :   :.,1:,.
                          Consult¡nte.. .....;, ;,; ¡,,   ,,;   ¡.i;.¡..,.-....
                          Legal ',\dvlSers..
                          Ta* Adv|sers.........,..,...,...,.
                     2. Adm¡nistrstlve Expenses
                     3. Miscellaneous
                    &    {P/ân-De"ve!qpnenl-Expe_n-s--e_p-¿v""q(fijd_Þ/fl rg Fund
Line 15b            PIan lmplemenfafion Ex.penses Not Paid by the Fund:
                     1, Fees:
                          Fund Adminlstrator




                          Legai AdVlsers.,
                          TÊx AdÙisers.
                     2. Adminlstrative Exþnses
                     3'. lnvestor ldentification:
                          Not¡ce/Publlshlno Aoproved Plân..,,,. ..,..,.........
                          tlaimq¡t,ldbntlflcal¡on.,...,,.,.....,...
                          ClÞlms Processirig
                          WeÞ Sitè Màinténanc€/Call Çènt€¡......,...,,,,.u, ¡,,.,.
                     4. Fund Admlnistrator Bond
                     5. Miscellsneous
                     6. FAIR' RÞportÍng
                    Ip,fa/
Line'l.h            Tax                      Sonds                           Fa¡d      4t the Fund
                                                                                                                   No¡'Pa            Fund
Llne 16         DlÊþursementË to Couruother Not Pstd by the Fund:
l:¡nê l6a           I nves.tm e nt Ex   penseVCR/S Fees
llne   1.6b         Federel Tax Þayments
                 I-oje-|9!_s-Þu-ts-.ç-ms!!slS"-Qe-UrUfl               llqr[q!P-aJd.by
Llne 17         Dc & ,$tate tax Payrhênts
l-lne'!8        No. of Glalms:
Line 18a           # of C/ai¡¡s Recer'ùed T/ris Repodlng Period.
Linç 18b           # oÍ Çlaims Recoived Slnce Ineepiloti of Fund...... .,...                                  ..
line l9         No, of Glaimants/lnvsstors:
Lìne l9a,          #of
Line,lqb           #of



                                                                                                                                                             :¿^--t
                      Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 10 of 35

                                                         Call Socket U LP
                                                    Susan l-- Uecker; Receiver
                                                          Balance Sheet
                                                         Ma¡ch 31, 20 I E

                                                                  ÂSSETS

Çuriont Assofs

 Total Currenr Assets                                                              0;00

Propert-y and Equipmenr

 Total Property and EqUipment                                                     0.00

Other Assets
 CA Gol<,| Medal Receìv¿hle           $            33,,5s0.00
 Deposits,                                            4 10"50

 Total Other Assets                                                         33,960.50
 'l-ot¿l Assets
                                                                    $       33,960.50




                                                 LIABILTITES AND CAPITAL

Current Liabilities

Total Cunent Liabilities                                                          0.00

Long-Term Liabilíties

T'otal Long-'l'erm Liabilities                                                    0.00

Total Liabilities                                                                 0.00

Capítal
Beginning, Equity                     $        7,971*752.32
'I'ùnrover Funds                                  30,5 I 2.39
Turnover to SFRC                              i(7i91¡,524;63)
Nef lncome                                        (6,7',tg,58;)

'l"otal Capital
                                                                            33,.9ó0,50

Total Liabilities & Capit¡l                                        s        33,960.s0




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                                                                                      Poggr I
                                                   Call Socltet II LP
                                               Susan,[,. Uecker; Rcceiver
                                                  fnçome Stoternent
                                               For tbe lì'irst Quor{er 2018

                                       Current Quarter
ReVcnuos

'Total
         Revenues                                0.00


Expe¡5es
 Ernployee Benefit Prograurs Exp   $         1,021, t:9
 Insurirnce Expense                            (27.44)
Payroll '1'axes                             2,546.90
Pa¡oll    Se¡.vlce Fees                       622,00
'I'elephons Expense                         2,616.93

Total Expenses                              6,779.58

Net Income                         $        (6,779.58)




                                           For'Managenrent Purposcs Only
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                   STANDARDIZEO FUND ACCOÚNTING REpORT to¡ JL Gatewãy ReçeivêrshiÞ.Cash, Basis
                   Receivership Civll Court Gase No, 3:17-cv.00223-RS
                             Period:         1 to March 31 2018

    FUND ACCOUNTING

    Llne    I      Beglnnlng Balance {As,of Januarll 1, 2018)
                   l¿creoges /n Fund Ealance:
    Line 2         Busln6sç lncomo                                                                                                 1ð3,320.02    133.3¿0.02
    Llne 3         Cash and Secùrltlea
            4      [nteresUDlvidend.lnsomo
    Llne 5         Buslnese Asset Llquldstlon
    Line 6         Personal Asset LlquidaUon
    Llne 7         fhlrd+erty Llti gatlon I nçome
    L¡ne    I      Mlscsllaneous " Less Tl Gredlt                                                                                         o,00         0.00
                     Total Funds Avallabts (Llnss 1                       -    8);                                                 { 33,32O.02   133í320.02    264¡9ã6:Ð3

                   Oecroases in Fund Balance:
            s      D¡sbursemsnts to I nvestors
    Line 10        Dlsbursêments for Rêc€ivershlp Operatlons
         10a       Disbursefionfs to Roce¡ver ör Other Piofess(ona|ç
    Line 10b       Eusrnéss ASset Expenses                                                                                          9l ,631.09    91;63{ .09
    Line 10a                      Expenses
    Line    l0d                  Ëxpenses
            10e    Th   kd-Pafty L¡t¡galbn Expehses
                         '1 AltomBy
                           ,         Fees
                         2     UtigaUon E¡pe¡ses
                     Tsld-r-l@--'PpLtytr!!!se.l,p/lE-"{p-e¡.99-$-
            10f     Tax,{rdministralor Fees,a¡1d Bonds
            tos
                                                                                                                                    91                   :09

    I,lne   11     Dlsbursoments for Distributlon Expenses:Pald by the,Fund:
    Llne 1ía             D ¡stiib ation Plan, Devetopmer,f Expens€s.'
                          1, Fees:
                                 Fund Adm¡n¡strãlor........, .., ......i ¡;.¡.ii;;. ,,,;r ¡.. , ¡¡ i.- .-
                                 lndependenl Dlslrlbution Consultant (lDC)..,... ...,... ...,
                                 Distrlbution 49ent... ... .".... ..
                                 6onsultants.



                          2. Adminislratlve Expens€s
                          3. Miscellaneous
                         T elpl-E! 9n --!9þ p_-..q nl€¡p",sn-s.eg-
                                                                                           -
            tlb          Distribu tion Pl an I mplemantalion Eipensesr
                          l.   FBesi
                                    Fund Admlnistrator.,.,....
                                    lDCr.............,
                                 Distribùtiôh 49ent.,...                .--:   :..   ..;   i¡,   À, .
                                                                                                        ",,.
                                                                                                               -. -.-.i.   . ,,.


                                 Consullån|s.......!....:..::.....-...,_,
                                 Legal Adviser.s.,
                                 Tax Advísers..      , .

                         2. AdministraUve Expenses
                         3. lnvestor ldentificationr
                                 Notlce/Publlshing Approved P|4n......
                                  elaimant
                                 .Cla¡msPròcessing,,.,,,..,...,..,..,:.-.;-.;;:,ì-..:,.,.....,...,...
                                 Web,Site Malntenancs/Çal l Çenter
                         4. Fund                             Bond
                                        'Adminlstrator
                         S. MiscBl¡ãReou$
                         6. Fèderal Account for lnyestor Restitution (FAIR)
                         Reporting Expense$

                     Total      D                          fo¡
    Llne 12        Disbursemsnts to ôdurt/Othefi                      :



            12a         lnvosffl ehl ExpensesrCou                d   ReQislty lnveslment
                   system lcR/s/ Feos
            12b       Federal T:ax Paymenls
                 Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 13 of 35


                    Total DlsbureemeritstTrensfer' to. sFRC                                                     0.00              0,00
                    Tofal Fundb Disbursed (Llaes I      { l )r      -                                      91,031,0S         91,631.99           Qll
                                                                                                                                                       "831.09
Llne 1 3               ng Balance (As of March 31, 2016);
Lfnê 14                   ng
Line 14d               Cash & Öasl¡ Equivølents                                                            173,325_84       1.73.325;84
Line 14b               /nvesfr¡renls
L¡na,Í4e               Ofåer Assels ot lJn¡leared Funds
                    Total Ending Batanôeof Fúnd- NelAeçete                                                 170,325,84       173.32s.84          f7¡,325.84

OTHER SUPPLEMENTAL INFORMATION:
                                                                                                            Deþ¡l           Subtotäl          Gfrnd Total
                   Rpport of lle¡r,5 NOT:l'a Be Paid hy the,F-und:
Llne 15            Disbursdinents for Flan Àdmln¡stratlon Expenses Not Pald by the Fund:
Liùa   1.:   e            Plãn Devetopmonf Expenses Not.Pdd Þy lhe Fund:
                           L Fees:
                                                                                                      -a
                                Fund.Admin¡strator,.............                                                        -                 -
                                tDc......


                               Legal Advisers.,
                               TaxAdVisers.,,.                          "¡¡¡..¡.;¡.,,¡,;,;,;.,¡
                          2   Administrâtive Expenses
                          3. M¡ËcelfåneoUs
                          Total Plan

Llne   lãb                Plan lmplementation Exponses Nol Pald by the Fund:
                          1. Fees:
                               Fund Administrãtor.....



                               Consultants.;, ... ... ,.
                               Legal fdvisers..,,
                               Tax Advlser+...
                          2, Administmtive Expense6
                          3. lnvestqï ldentìflaat¡ont
                               Notlce/Publ¡shlng Approved Pk¡n;.,....,,.,.....
                               Clalmênt ldenulic,alion..,......,....
                               C[afms Piocè3sino....,,.,..,,.,... ...,...... ;.:..,.. ;.;.^.¡.. :.-
                               Web Sitè Maintenânee/Call CentÊr,...... -,.
                          4. Fund Administrator Bond
                          õ, Miscellaneous


Line 15c


Ltne 19           Dlsburcemsnts to CourUOther Not Pa[d by the Fun{:
l;ino 16a             I   nva stme nt Ex pansesÆR,S Fees
Lìne 16b             Fadoral Tax Payments
                   lglsl.Di.9Þqrgen'.e"n-qilc_c.eurd-otlElNo,!fsJ-{-bJ-the
Line 17           DC:& State Tax Payments
Llne 18.          Ns. of Glalms:
tine lÛa              #    of Çlëlnls Recelv€d lf,/s ReBgrting Period.,.
Line 18b              # of Çta¡ms Received Since tnception of Funcl......
Llne 19           No. of Clalmants/lnvestors;
Line l9a             # of Clahnatit's/lnyeslors Patd Thie Repo¡ling Periad, . .. ,,. ,... . .,, . .
Llnê 19b             it of Claimenls/tnvesfors Paid Sinca lnceptiõn ol Fund. . .. . . . . . .. .       .




                                                                                                             n




                                                                                                      Date
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                                                         JL GAITEWAY LI,C
                                                      Susan L, Ueckcr, Recoivsr
                                                           Balanec [ìhçet
                                                          March      ll,
                                                                     2018

                                                                   ASSE    S

Current Assets
ChççkingBoston Privatê Bank             $           I 73 ,325.84

'f   'gtal Currcnt Á,gscts                                                     173,325,94

Property and Equipmenl

Total Property and Equipment                                                            0ioo

Othe¡ Assets

Îotal.Ofher Assets                                                                      0.00

Tot¿l Assots                                                        $          t73,325-84



                                                    LIABILI'I'IES AND CAPITAL

Currenr LiabilitieÈ

Total CurrEnt Lìabilities                                                               0.00

Long-Term Líabilities

'lotal I.ong-Ternr Liabi lities                                                         0.00

Total ì,'iabílities,                                                                    0.00

Capital
Beginning Equity                       s            190,487,30
Tù-mover Funds                                      48, ¡ 49.61
WIFI Rail TI Crecliis                                (7,000.00)
'l'urnove¡'to SFRC                              (   100,000.00)
Net Incorne                                          41,688.93

TotølCapitql                                                                   t   73,325.84

'Ilotal Liabilìtics & Capitril
                                                                    $          t73;325.84




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                                                                                   Pogc: I
                                               JL CATEWAY LLC
                                            Susan L. Uecker, Receiver
                                                 l¡rcome Statement
                                            l'orthc Fiist Quarter 2018

                                    Çurront Quarter
Reve¡rues
Rental Inoome                   $       I I I,980,J2
Cz{M/lns/lvfgmt/Late                     21,339.70

TÞtsl Revenues                         r33,320.02


Expenses'
Expenses Paid hy Eolípse                 88,941 .09
Tåxes . Slate and Lscal                   2,690,00

Total Expenses                          9,t,63t..09

Net Income                      $       41,688.93




                                        For Management Purposcs Only
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                STANDARDIZEO FUND ACCOUNTING REPOR.T for CA Gotd Médal Roc€lvershipCesh Baeia
                Receivershlp 6lvil Coud .Case No, .3;17-o/'-00223-RS.
                                   Perìod:                  1to              31 20I       I
FUNO ÀCCOUNÍNG (SE€ lnskuctlons)r
                                                                                                                  Detåil             Aubtot¡l                           Retorencg
Llne    I              hntng Balânce (Ar of Januory                         1, 20'10)                                                                15,fi5.335.81
                                     tn Fund Balance:
Line    2                          lnêomê                                                                                   0.00             0.00
Ll¡e ô                     and Secürltles:Fùndlng from SFRC                                                        þq,000,00            50,000.00
Llire ¿                                        lnçpme                                                              1 1,   g8õ,62        11,û85.62
       5                ness Ásset l-lquldatiort                                                                            0.00             0.00
Line 6                        I   Arset Llqufdatlon
Lloe: 7                         Litlgátlort lncome
Llne I                              - OthêrlReluhds                                                                    -52,80              -52 80
                            Funds Avallable (Lineg I                        8t)¡.                                  Ê1,832.82           61,83z.82     I   6,Ê37,lt8;6î
                DocrêâSès In Fund Ealance:
       g        Þfeburscmgnts io lnvedtore
                Dlsbulsemènt6 for Recelvership Operatlons
       10a      Dlsöursârnenfs to Receiver or Oflrêr Professioná/s
       10Þ      Euslneos Ássát Expenses                                                                            51,687.72            51,6,87.12
       10ô      Pê¡sona/ A ssei 6vppnsos
       10d                         Fxpenses
       10e      T   hirúPa tty L¡tÌEaliorr. Frap€nôós
                       1,. Attomey Foes
                      2 Litjgãtion Ëxpensos
                    T.ol 9l_T_hj!d. :P_q d y U t t g e l ìp n E¡, pen$qs-

        I 0t    Tax Adm¡nl€lratorFB9S énd Eonds
       ,t 0g                 and Stete :l'ax Pdyments.

       11                                   ior Þ¡str¡bulisn Expênses Psìd by lhê Fuiìd:
       11 a.          Dt  stribution FlEn Devglopmenl Expensê6i
                         1. Feesl
                               Fund Adminístrãlori.,,ï,,r:,,r.,,:.,..,,,
                                  lndepÞndbnt Þisfributlon consultênt (lDC),                    ..   ......,
                                  OÊtriÞùfion Agont.
                                  Consullânl8,
                                  Legal ,qdvísers.,...
                                  Tãx.Aftvlseri-., ,...
                       .2. Adminietrative Expenses
                       :3. Miscellaneoui
                       Tolel_FIeo
       t1b            Dl çt tiÞutjon P! an tmptemontalion Ekpen se s:
                        1 F€Eg;
                                  Filnd A.lrninlslîdtof.,. ... ... ... .., ,....,..,

                                  Dislribul¡on Agênt.
                                  Co¡þult€ntå... ......
                                  Legal Advieora,.,..
                             Tex Advlso[s.,.-.,.
                        2. AcJministratiVe ExpensÞs
                        3, [nvestor ldentífic€tio0;
                              .NotioslP.ubf iphing Approved Plan..,                 ...,,. ..   .

                                  glq¡manl     Ldon!¡f Öat¡on.
                             Claims Proceesíng..,..
                             Web Sile Maintenance/Call Cêñêr....
                        4. Fund Adm¡nistrator Bcind
                        5. MisÇellánêôu9
                        6, Federãl Account for lnvestof Restltut¡on,
                        (FAlß) RBþorXnS Expenses



       12                         to GourlOther:
Linè 12a              lnveslñen| Experlses/Court R6øsl¡"y lnvesl|];,enl
                          lcRls) Fees
       12b           .Fedanl Tax Fayrnenls
                    Totål Dlsbursements to Couruothsr:
                    Total Funds Dlsbursëd (Llnos I  1f)r                -                                          51,687"72           51,687,72           5lft8r.72
       ij       Endlng Balance (49 of ftilarch 3l,2018);
                                     ncE
    14à                     & Ca¡stì, Eeúivalents                                                              15,785,480,91       1.6,785,460;91
    T4þ               ,nyés}fianls
    t4.c              OtåerÁsse/s or Unoleorcd Funds
              Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 17 of 35

                 fotåt End¡ng Batãnco ot Fund - Net Aseefs                                    15,785,{80,91       1   5,785i480,91


 OTHER SUFPLEMENTAL INFORiíATloN:


                Repon.olltems NOT To Be Pstú þy thø Ftrnd:
Llñe    l5     ûiÊburûemonts for Flan Ad¡ninistråtlon Eipenses                            Fsld by tfie        I
 Line   l5s         Plan Dcivelöpmenl Erpensas NoI Psid þy r.ne Fur¡d:
                       1. FeÞS:
                            Fuñd Admiñistrãior.,.,.,.,,,,,,..,,.,.,.,..
                             t0c.....,,,..,.,..,..,.
                             Distribulion Agent.
                             eonriultãnt¡.,, ......    .., .,,
                             L€gál Adv¡$is..,..,.,,..
                             Tax Advisers.,. . ...-.. .....
                      2, Adm¡nistrative Expenses
                      3, Miàcellaneous
                                     j.veþp'a?.øü.Hp=€.{çgs Ne!¿e!d- by,
                   "Lof etP..le¡.P                                       lhe Ean.d_               .



L¡ne 1'5b          Pløn lmplementaflon Expensa;s. Nót Paid.þy thti Fund:
                    1. Fees:


                             Dielrlbùtiôn Agent.,,... ...
                             Consr¡hants,,,,.,.,......,,,
                            .Legal ,idvisers.., ,
                             Tax Advlsþr8,.,....
                      2. AdminisfativÊ Expeniés
                      3. lnvestor ldontificalionl
                            NqticdPublishing Approved Phn,....,.
                            ila¡mant ldênt¡l¡c€tion... ......,...... ......
                            Claims Procegsiôg...
                            W6b Si(o Mãiñt6nåncdcall Center:.
                      .4. liund Admlhtstrator Boàd
                       5. M¡soe¡lãneous
                       6, FAIR Reporting Expenses

Line 15c                                                                             Fund.


Lìne-16        Dlsbursq¡nsnt8 lo Côurt/Other Not Pejd by the
Line 16a          /nv. esûi.¡enf ExpenlæscR/S Fees
L¡ne. 1 6b        Fedeßl fqx Payments

Llne    17             State   Tat
Llne 18        No..<if Clalms;.
Lina"lSa           # pf C/å7ms. Få'cêJved This'Ropottiúg Period...,-.
Lihe 18b          # øf C/qnts. Recoived Since lnëept¡on,of Fand
Line 19;       No, ol Clalmðnt$/lnv¡'stors:
L¡ne,19a          #   ol Claìmanlsfr     nves¡ors. Perd f/Trs Repoding Per¡od..
Lftte tþo         #of Clainants/lnyesiors,              P.   ard Sìnce lnceolløn of Fund-,.




                                                                                                                           escfow reservo of




                                                                                                                                               {ëiÞ
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                                               CAI,IFORNIA GOLD MEDAL
                                                  Susêtr 1,. t-Jecker, Receiver
                                                            Balançe Shçet
                                                            Mh¡o,h 31, ?018

                                                               ASSEl'S

Cun'ent Assets
Checking - Boston PrivaÌe            $             1,945,38
Money Market - Boston Private                t 51783,535,51,


 Total Cunent Assçts                                                     15,785,480.91

Froperly and Equipment

 lotal Property and Equipment                                                       0.û0

Other Assets

Total Other ASSots                                                                  0.00

Total Assets                                                       $'    15,785,480"91




                                               LIABILII'IES AND CAPITAL

Current Liabilities
Central Escrow Funds                 s       I5,746; t 80,00
CS tI Funding (Community Bank)                   33,550.00
Funding - SFRC                                    50,000.00

Total Current Liabililiç¡                                                15,829,730,00

Long-T'erm Liabilities

Total Long:Term Liabil itie¡                                                        0.00

l'otal Liabilities                                                       I5,829,730.00

Capital
Begimìng EquÌty                                 ( 14,28 r   ,65)
Turnover Funds                                    4.,032.26
TUrnover,- Crystal Gold.en                        5,502.40
Nel Inçome                                      (39,s02.10)

Total Capital                                                                 {44,249.0e)
'fotal Liabilities & Capital                                       $     15,785,480.9   t




                                         Unaudited - For MÂnÊgemqnt PurpoËes;Ofily
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                                                                                    Pagsr I
                                           CALIFORNIA GOLD MEDAL
                                             Susnn I,. Ueckcr, Receiver
                                                   lncerne Statement
                                               For the First Quarter'20 l8

                                      Ct¡monl Qunrler
Revenues
                                 :o
Interest lncomç                   J       1   I,885.62
Other Ineome                                    r00r00

Total Revenues,                            12.,185.62



Expêuses
Repairs Expense                              600.00
Securþ Expense                            44,890.A2
Storage                                    1,089.69
Taxes-Fedsml &Stote                          800.00
Utilities Expense                          4,307.61

Total Expcnses                            51,687:72

Net lncome                       $       (39,502,t0)




                                          For Managementr Purposes Only
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                  STANÞAB,Dtz:ED.FUND,AccouNTtNe REpORT lor Berkeley Hesllhcarê Dyrìämics Receívershlp-Caeh Basis
                  Receivership: Çivil Courl Qase NO.             3:   1   7,cv-00223-RS
                            Perlod;

 FUNp ACcolrN-rlNq lseo               ttltn¡ctlonÊ)r

                  Beglnnlng Þalance (As of Januar,¡r 1r 201s|
                  ,nêteasss ln Fund Bdlãnca:
 Llno    2        Buglnsse lncomo                                                          .80;000.00      8r,000.00
                  Cash and Söaurlt¡es
 Lino ¡l          lntsrocUDlvldend lncome.                                                       7,.12.          7.12
 Lfne.6           Busfngss Asgqt Llguldâtlon.
 Line 6           Peruonal
        7
        8         MlsÈellànsoús . OtharlBefuod8                                             4,212.37        4,212.37
                   TdLil Fund* Avaflable {Llnos I               -     8).                  8+21â,ls        84,.¿! g¡49   5l 0,666;0F
                  Oecrease's ln Fu nd. Balance:
        I            bursomonts iq lnvegtor¡
        10        DfFbursements lor Rócelvershfp Oper.atlqns
      10a         Disbursements to. Receivv ùr Othot Prcfessio;nals
      10b         Bus¡noss Ás$ét Êxperrses                                                 99,647:33       9q,641,33
      10ê                     ¡sss¿,Expdnsos
      10d         lnvestmeni E{pensËs
 Llna 10e         Th i td- Pâûy Litlgaù'on Expenses         ;


                        1, Attomey Fees
                     2, Utigatiorr Expengqs
                   TpJ4!,rhJ4-Pety"Llttgeligll_fupqae-e_s"_                  .,,
 L¡rÌe 10f       Tax Adminlstntor Fees and Eonds
 LIne 109        Fcdêre/ snd SJale Tax Paymants


        11                        tor.Dlstrlbr¡tloñ Expenees Pald by the Fund:
        11a          Distibutíon Plân Devèlopnent E*penses:
                      ,l..
                             Feos:
                               Fund Admiiìishator.".. .,..,........,,...
                               lndepéndent Dislributlon Consultsnt (lDC)... ..,...
                               Distdbutión Ageñt:......-"..,.. .., .,..,...
                               ConSullants... ....,
                               rosa Àovße¡s.,.........,.,..,
                               Tsf AdvtseiÈ......
                      2..Admhislfstive ExÞènses
                      3. Mis.celianeous

        1.1b         Dlatib ution Plan /nlpLlmdntat/gn ãxpenses;
                      1. Fee.s:
                              Fund.Adm¡nlsùatot




                              Legal Advisérs....
                              fax Advlsêrs..
                      Z. Adm¡nisfrâfive Expenses
                     3. lnvestor ldenllfication:
                              Notiêe/Publlshln0 Apprõved ptan,..
                              Clãlmant ldenllltc€tion...,,.... ....., ..
                              Cldims Processihg
                              W€b S¡tG Maintenânco/Call. C€nter.
                     4. Fund Adûilniþtrdtor Bond
                     5, Míacelltneolrs
                     6. Fedèral Account for fnvestor Rest¡tutlon
                     (FAIÊ) Reporting Expenses



       12                              to CourlOtlier:
       12a           lnvestment Expensesæoudr              Re   gìsry tn'vestment
                       ICRISJ Fees
       12b          FQdørÊl.TaX Payt¡,ents
                  Totat tllsburaements to Coun/Oft arr:
                  'Tolal
                         Funds Dlsbursod (Llnes 9 rll)t         -                         e9,s¿7.38       .99,647,33     'q$6,17s3
Llnã   l,l       Endtng Balsnce (As of Msfch' 31, 2018):
           Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 21 of 35

 Utß 14â          cesñ & c.âsä         Equìvâ|Æ,nts                                            411,018,73                            41 't,018.73
 L¡nê 14b         /nrreélme-¿?a5
 Llì¡e 14c        Otlrer.Ássêts       or lJncleared Funtls
                Total Endlng Balanco ûf Fund                     -   ltet A3sets               41.1.018,73                           ¡111i0.18.73


            SUPPLEM


                        6f ltèml NQT To Ee PaÍd by lhe'Fund;
      15                      fof 'Pler¡ AdñI¡¡strãtlon ElFençss Not Fefd by rhe
      15a         PIan Dévelàpme4t Expenses Nol Paid by the FunA:
                        Fees:
                          Fr¡nd Admlniehatot,.,
                         lDc.,. ^,..,,,.,,,,,,..,..,
                         Distibútion Agertt,....
                         Çonsultahté.,.,.,.
                          Legãl Actv¡sers...       .

                          I   ax Aqv¡sers... ,.,       .


                    2,,Administrative Eipeilses
                    S. Miscellanéous


     r5à          Pla  n i m ptem e ntalon Erpenses. Ns t P Ð ¡d : by't he,F u nd :
                    1. Fees:
                         Fund ¡dmlnistratór,.,,..




                         Legal Advlsers..,.
                         Têx Advísefs...
                   2, Ad'hlh¡straf ive Eipgnses
                   3. lnvestor ldéntifìcatlon:
                         Notice/Puttlishind {pprovod Plan.,. ..,...... . -.,,.
                         ctaimãnt:ldentmçãtion.,.

                         Web. S¡tre MehtEnanc€i/C€[ e6ntef
                   4. Fund Administrat.or Bond
                   5, MlgooJlaneous
                   ô. FAIR Reporting Êxpenses

     t5c                                                    Bonds Nol                 Fund


     l6                             to ,CoúrUOthsr N9t Fald þy the Fund:
      16a         lnveslment. ExBense.s/cR/S Foès
l:ìne 16b         Fedêral Tax Payntents
                lo_tel.pls_þ"r¡¡gcmgn"F!g-9Suggt_tle_r_{-o-!Pêldby!¡-c
LI            DC&             Ta*
     18       llo. oi olalms:
     18à         # of C/a?ms ReceÌved              fhis Reporting Feriod.,,;...                              .;   t.   I r.   , ..   t.:   .:,   , i.1   ;..   -.-


     l8h         ,#of ClaimsReceivedsincè tnceptlonqf                       Fund........,...                ,n!,jr;;¡;..,,,.,.,!.,a,:
     19           of Olalrhåntsllnvostorsi
Llne 19a         #ol CJåiñtants//r?Vesfors                 Paid,Thls RppofttnC Podod.
Llne 19b         #of                                                               of Fund,




                                                                                                                                                                     C¿   iJ*^
                      Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 22 of 35

                                                  Berkoley l.lealthcare Dynarir ics
                                                    Susan L, Uecker, Receivcr
                                                          Bafance Sheet
                                                         March 31,20i8

                                                                     ASSE IS

Cunent Assets
Checking - EastWest Bank              $          281,01 I .61
 Market Râte - Boston privâtc                     r   30.007.   l2
 'Total Cu¡rrc¡rt
                  ¡\ssets                                                       4l1,0t8.73.

Property and Equiprnent

 "Iotaf Property and Equipment
                                                                                        0.00

Other Assets

 Tota-ì Other Assets                                                                    0i00
 'fotal Assets
                                                                       $       411.018J3



                                                 LIABILITIES AND CAT'ITAL

Current Liabilities

Total Cunent Liabililies                                                               0,00

Long-Term l,iabilitjes

To:tal   .Long;fenü Liabílities                                                        0:00

I'otal Liabilities                                                                     0.00

Capital
Beginning Equity                     .$          426,446.57
Net Jnèo¡ne                                      (15,427,84)

Totlrl Capital                                                                 41 t ,0 18,73

Total Liabilllies & capítal                                           $        4r,I,0:18.73




                                          Unaudited " ForMariagement Purposes Only
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                                                                                      PagoÍ   1
                                               Berkeley Heelthcare Dynami cs
                                                 Susan L. Ueoker; Rgceiver
                                                     Incorne St4!ç$ent
                                                 For the Firsr Quaner 201E

                                         Currenl Qriarter
Revenues
Rental Income                       $ì        80"000.00
Iirtèrest Incomè                                   7.12
Retì¡nds                                       4,212,37

Total ReVenues                                84,219,49,



Expenses
Bank Service Charges                               32,00
Licenses   &   Pèrmits                         l;020,181
Mqrtgage Expense - Principle                  87;121.26
i\4orrgage Expense - l¡terest                  6,433.49
Taxçs-Fede¡al&State                            5,040.40

Total Eiperues                                99,647.33

Net lncome                         $         (r 5,427.E4)




                                             for   Mqrragernent Purposes Only
               Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 24 of 35

                 STANDARDIZED FUND AOCOUNIING REPORT tor ComprehénÈive cäre ol Qstqqnd Recèiver8hip-cae h:Basi$
                 Receiverahlp Civll Court Câse No., 3:17'cv{t223.RS
                                           T tci March 31 2018

 FUND                    NG

                 Beginnlng Balance (As of Januayt, 2018)
                 ,ncreacês ¡n Fund Batance:
  #N.AME? Buglness lngoms,                                                                           :9,798,729,6Ç    3,798;72S,66
                 Cssh snd SocuritleÊ-TrañEfor from SFRC                                               r,10û;00Q.00
        4        lnterost/Ðlvidend lncome                                                                   402;91   - 1,100,000;00
                                                                                                                             402;þi
        I        Buslness Aeset Llquidatlon
        I        Pe,.rirqnal Asset Liquldatlon
        7        Thlrd-P¡4y Lttigation incirms
 Llne   ¡        MlsqellanCous: - Othor/Rofunds                                                            :618.70          518170
                  Total Funds Availabte (Llnor                     I   -   8):                       4'Ê99¡651.27     4,SþÐ;641.27     7;888,210.01
                 Dscreases ln Fund Balance:
 Lln6   I                              to lnvsstors
 Llne 10                                  for Rocé¡vorship .Operatlons
        10s                             to Reeeiver or Other Professionals
        'l0b    Susiness Assel Expenses                                                              3;458,812.03     3;458i812.03
        1Ac     Persona/'Ássat FxpenSes
        10d     ,nvestrnonf.Exps¿sês
        10e     T h ¡rd : Pa fty L i t¡ga fzbn Expon sos
                    1. ,Attorney Fees
                   2..Liiigalion E¡penses
                  Tolp t r þ i rd- P p rJ y_Lj!!ge{ip¡_qxp9¿se_q_

        10t          Adminìstrator .F eas end Sonds
        loB             and State Tax Payments
                  ToL{lglçÞgIq€menls            -f-_o-r-   F,9.   *elygri¡-hlp_ gpg.,r"ttipnq.   "
                                                                                                                             12,03
        l1             rsorftênts for Dietributipn Eipþnsês Paid hy thé Fund:
Line "l1a           Distrib ullon Plø n Dove lo pmenf Exponses.'
                     1. Fees:
                           Fund Admìnistrator." - -...-
                           lndependenl Dlstrlbütion'Consúltant (lDC).,
                           Di6tribution Agont... .,..,..
                           Consultants.,.,,...r: .;......., i.,,.,
                           Legal Mvisers,.-.,-
                           Tax Advisers.",
                                             '..;
                     .2, Adminislrative, Expensþg
                     3. Migcollaneous
                    !þlp!-F lp 0 Qsysþpn_e,!¿ Expcns gs                    ._
Une     llb        Dtsttibutto    n   PIan t mplø mepfafrbn .Expenses:
                     1. Fêee:
                           Fund   Admìnistrator,.........,.".....,..
                          |DG,.......,......,.,
                          DistriÞullon Agênt.,,....,.....,..
                          Consultants.,..,...
                          Leoal Advisôis....
                          Tâx Adviseis,..,.,
                     2. Administrativg Expen$es
                    3. lnvêstor ldènlifìoationi
                          Netice/PuÞlishins Approv€d Plan... -.. ..,,.,
                          Clâ|manl ldontrÍcation....,..
                          Çlalms kocessiäg,",
                          Web Si¡e Malnteftànce/Call Center.,.,'........,-......,
                    4, Fund Admlnistrator Bond
                    6, Miscelianeous
                    ô. f-edeml Account for lnvestor Êestìtutiqn (FAIR)
                              Expeiìses



      12        Dlsbursê¡ù6htb to CourUOther:
      12a           lnvctsmenl ExrlensevCoud Regiplry l¡ys5tÌns¡¡
                        (CR/Q Fees
Llr¡e làb          Fodarð|. TaX PÉiymanls
                Tptal Þlsbucsments to,CoûrUother:
                fo(al Fundls Oisbu¡socl (Llnos 9                       - lll:                        3,458,812.03    3,458;812.03     t.458,81ti03
      13       Ending Balance lAs ot March 31, 2û18):
                   Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 25 of 35

 Llne 14
 l:ine      1¿la        :Cas¿, & Câslr Equlye/ents                                                   4r129;397.98        4.229.397,9S
 Ltne 14b               /ãvestn6nfs
 Line 14c               OlàerAssefs oi lJnclearcd Funds
                       Total Endlng Balance of Fund - Net Arêsts                                     4ì229,397.98        4,229;g97,gB     ¡r.zzu.J9l,.9ü


oTHER SUPPLEMENTÁL INFARMATÌON                               ¡

                                                                                                     I Dotâit I           SubfõEl         (jrõnd.Totãl
                     Rgport oî ltømq NQT'To 9e Pald by the Fund;                                     r-r
                                                                                                     rt
 Llne 15            Dlsbußements for Ptån Artmtn¡stratlon Eipêneo3 llgt raid hy ,the Fund;
'Line 15a              Plan Developmont,Eipenses Not Paid by lh? Fund:
                          1.'FêèS:
                               Fund Adm¡nistrator..,    .,,.,....,...   ...,
                               rDC..,
                               DíslributlonrAgþnt..



                               Tar Advii¡ers,.,....
                         ,2, Adminlstratlve Expenses




Line 15b                Plan lmplementatlon Ëipenses Nol Paid by,the Fund:
                         L Fèes:
                              Fund Adminiskator..........,,.
                               tDc,., ,,. ... ... ...
                               Distribulion Agenl;.,.
                               Consultanls.,. ...., .
                              Legal Advlseß.,.,
                              Tai Advisers,.,,..
                         2. Ad¡,äinlstralive Expenses
                         .3. lnveslor lderrtiÍcation:
                               Notjs3lPublishing Applcved P|an,.....,..,.
                               Ctalma.nt ldentlnêåüðn,..,,, .
                               Cla¡ms Prbce$sÌnS...,..,.,,.,,,..
                               Weþ gite,Màintenanceicall         knter...,., ..,.,   ... .,. .....
                         4. Fund Admini$t¡ator Eond
                         5. Miscellañeoús
                         6, FAIR Reporting Ekpenses

Lina 15c,                                 lcir Føes   & Boitds                 by           Fund
                      Totbl
Line 18             Dlsbursemenb to CourUOthor Not Pald by the Fundr
Llne'l6a                I n v€ slmo nt Ex Wnses/CRlS Fees

Liqe 16b                FOdêiâ|. :f €x Payiriéntx
                      Toúal
Llne     l7         DC & Statp Tax Faymente
Line     18             of Clafms:
Line     18a            # of Glaims Rec*Nêd Th¡s Rop;ort¡ng Period..,.......¡¡.¡ ¡.;¡                 r;¡   i;¡,¡¡,.
Liilë    18b            # of Abims Receivíd Since tnception òf Fuild.,...,..-,.,,
Line     19         No. of ClalmantstlnvostOrE:
L¡ne lga               # of Qlaimantill nyos,urs Pad This Rø porting Period,,.... ... .... ..., .,
Line lgb               #                         Paîd'               ol F.und.,.,.



        #                                          Itorn
                                                                                                                                               open an escròw
                                                                                                                       acçounl for tho benefit ofCCOO:




                                                                                                                                                 (a:J-+*
                       Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 26 of 35

                                                 Comprchensive Care of Oakland
                                                    Su¡an  i,. Ueòker, Receiver
                                                           Balanee Sheet
                                                          Marçh 3l . 2018

                                                                ASSETS

 cunenr Assete
 Chccki¡g.      Summfu Bank            $        2,368,559,;(t2
 Chqoking - Pnyroll Accounr                       t 59,706.43
 Savings Account - Summit Bank                    600,245.49
 Money Marker/Esciow-Boston                     I, I00,886.44

 Total Cunent Assets                                                     ,4,729,397,98

'Property and Equipment

 Total Propeity and Equiprnent                                                    0,00

C)ther Assets

 Total Other Assets                                                               0,00

 Total Assets                                                    s        41229,397,98




                                                 LTABILITTES .AND CAPITAL

Current Liabilities

 J'otal Cu¡rent Liabjl,ities                                                      0,00

LongTerm Liabilities

Total Long-Te¡,m Liabil ities                                                     0.00
'l'otal Liabi.lìriqq
                                                                                  0,00
Capital
Beginning Equity                      $        2,788,ss8.74
EScrow Funding ftom SFRC                       t, r 00,000.00
Nef Income                                       340;839.24

Total Capital                                                            4,229,397.98

Total Liabilitiês & Capital                                      s       4,229,397.9g




                                          Unaudited - For Maragemenr purposes Only
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                                                                                    Page: I
                                          Cornpreherxíve Care of Oaklsnd
                                            Susan L. Uecker, Receivsr
                                                 lnco¡ne Sutement
                                            For the First Quartpr 20I E

                                     Currcnt Quartçr
Reyçnuçs
Service lricome                  $    1,79E,J29;66
Interest Incómè                              4Q2.91
Rofunds,                                     5r 9.70

Total Revçnues                        3,799,65t,27


Expenses
Operating Expenses,                   1,376,355.91
Payroll                               2,082,456.t2

Total Expenses                        3,4-18,8 t 2.03

Net Income                       $      340,839,24




                                       F'or Management Purposes   Only
                          Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 28 of 35

            STANDARDIZED FUND,ACCOUNTI NG REPORT.fOT SFRC|CASh 886¡S
            Receivershlp Clvil Court Case No, 3:17-cv.00223-R$
                             Period:                 1to              31   20'18




     1      Beglnnlng Bálance (A;.of Janùary 1, 201 8)                                                                                 74
            hcreases ln Fund Balancç:
     2      Businege lnoomo
     I      Cash and Seouritles-Trarisfers and Turnove¡                                      55''455.29       56r455.99                     I
     4      |nter€suDivklênd lnoome.                                                         18.n827          18;778.27
Llne õ      Buslnoss Ascet Llquldatton
Llne 6
Lf¡e 7
LineS                      - Refunds                                                          2,159;-95        2i159,S5
              Totã! Funds Avaliabte (Lines 1                     -   s);                     76,393,51,       76,3Ð3,61,   2õ,qû7,064,26,
            Decreases in Fund Ealance:
    I       Disbußements to lnvestors
     10     Disburcements for Rêcolvéreh¡p OpqrationÊ
    10a     Olsbursemenls to Re cs luerlTn nsfe rs                                    1 ,1   50,000.00     1,;150,000.00                    t
    1'0þ    B./s/noss Assof Exþêi4ses                                                        f2;197.20         7?,197.20
    10c     Personel,Asset Exps¡rses
    10d     /nvosffienf Exp€nses
    108     Th itd -P s rty Litiga ttbn Fxpenses
                 1. Attorney Fses
                 2. Litigatíon Exþenees

Line 10f    'fax.Admintstutor Føos and Bonds
Lino l1g    Fodøral ênd State Tax Paymenls


    11      Elsbursements for Þistrlbutlon Expe¡iSeS Pald by                         Fund:
    11a            Disttibut¡on,Plan Development Expanses:
                    1. Fees:
                          FundAdr¡ìnistrslor.,....,...,,,.,,...
                           lndependent Dlsh¡bution Consuttant (lDC)...... ....,,
                           Distribution Agen!,.- ".,....,,....
                           Consultants..
                           Le_gsl Advlsors
                           Tex Advisers...
                    2 "Administrative Expêrise$
                    3' Miscellâneous.
                  þlpl?,Je!,Qp-U-e!opr4qr!Fvperr,-s_e..s-_-
    11b           Diskibution PIan lqtplementgþon Expsûges:
                    f. Fees;
                           Fund ;Adm¡nìstiãtor. ... -,..... ... ... .,,.....,...,,
                           tDc
                           Distributibn Àgenl
                           Consultents-..-. -.- "...
                           [egal Advlsers, ..-,....
                           Tax Advisers.,..
                   2. Adminlstr€llve Expenses
                   3" lnveslor ldentilicalion:
                         Notiee/Publishing ABproved Plán...,
                        'Cláimant ldentílieatlsn...
                                                    ... ,.. ......... .
                         Clalms Proc€sslns, .,- .....
                        Wèb Site Maintenancdcâll Cenler,.., ",..,....,,....,..
                   4. Fund Administrator Bond
                   5, Miscelleneous
                   6. FederalAccount for lnvestor Restilution
                   (FAl R): Repgrtlng EIpqnsÊ.s
                  Totàl
            rsFlPls!                                                                            Fund
   f?      Dkbursernents to CourUOthe¡;
   12a            I hüe   slmênt Ex panseVCourf Rogrìs,try I nve stmenl
                                                           .


           Syslem (CR/SJ Fees
   t2b        F â do tÞ I Toi f táfiaanls
              .




                                  courUothsr:
            Totaf . D¡.Bbu¡ìs.élnants to
            fotatFunds Disbursed (Llnes t - 1l):                                     1i222,,197,20        1i222,197.2ß     1;222i197.20
   t3      Endlng Bslonce (Ab of March,ill,:2f{!)i
                           Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 29 of 35


        14a        Casá & Çaså Equivalonte                                           24314,867.05           24,314,86-7.05
        14b        lnuostmants
        14a        Oláor,4ssals or lJncleared Ft¡nds
                 Trjtal Endlng Balsncs of Fund - l¡ot Ae€otg                         24,3f 4,897.01         21,314,867,Q6     -?f-,Fm¡¡a

OTHER SUPILEMENTAL lNFORlvlATloNi
                                                                                                                                Grend Tolåf
                           ol ltøms NOr        To Êe petd byUte Fuûd:
  lne   l5     DìEbursemonts for Plan Admlnístratlon Expenses Nor petd by the Fund:
        15ã       Plan Døv e Io p mÞnl ãxpglrsês NoI Paid by lhe
                      1. Fees;
                             Fund AdmintslraÎor.........
                             lDc,..._.,.,...,...,.
                             OtstrJbuiiÕn Agent
                             Con6{,iflant6..
                             Legal Advlssrs...
                             Tax Advisers..
                    â, Adm.lnistrative Expenseu
                    3, Miscellaneous
                   T.oJp!flg;1"0_ç_u-e!p¡try,a¡¡!*Çyp!êqs-Nol8.ê¿dgll¡pFpnd
Lino 15b           Flan lmplomentation E*poäses Not Pe/dÈy
                      l.   Fêes:

                             rDc...,.,,.,...
                             Dlstrlbution Agenl
                            .Çonguitâiìts'.. ,...
                             Legal Advi$€rs,,..
                             Tax Advieers,
                   2, Administiaf.ivé Expenses
                   3. lnvestor ldenl¡ficatíoni
                            Noiice/Pubilsning'ÀÞproved pra0....,,,........,,,,,,..
                            Clairhant ldentlTcåtion.,. .......,,,.,....
                            Clalms'Pr@e-ssin8...,.....,,..........
                            Web Sito Mainie¡ancç/Call Oenter.-.,.......,..........
                   4- Fund AdministrÊtor Bond
                   5. Miscellanepusr
                   6. FAIR
                  Total
Line 15c          Tax Admln¡sløtarFees & Bonds Not                          the


Llne 16       Dlsburssment¡ to CourtJ0ther:NottPáirl bt the Fundr
 Line 16a         I nvøsltne n I E x penseVCR/S.Feec

'Llnê 16b         FÞderal Tay Pâyìnents


Lfne 17           &            Tax
Llne 18       No. oi'Glãlms:
Linq 18a         # oJ Ç/aiøs,Receircd l}llb Re po di ng Pø rlod, "". .... .., . ...
Linê lab          # of Clams Receîund Since lncepitfitn af'Fund..........,..,
Llne 19       No, ol Claimant¡llnvestorsr
Linø 19a         # of Clalmants/lnvestors paid Th¡s Rgporling period...,.
Line 19b         t tt Claìnaots/tnvesfors Par'it :S,n ae lnaepttõn ol Fund...


    *                                           Item                                      Amoùnl          Gorres

    I         Cash û Securities                                                            55;455.29 Comprisect        of funds trañÉfers ¡n the 4st quarter
                                                                                                          only, as fgllows:
                                                                                                          es LP                     .40,376.19
                                                                                                          cs lr                      15;079"10

    2         Disbursements tq RecÉive-íIransfer lo CCOO                             'f   ,150,000.00; T¡ansfêi to.nêw CGeO Esçrow Account

                                                                                                          rransrêt"tp rund uo   åf,itfiriÎq
                                                                                                                                   50,000 00



                                                                                                                                     &."'ì^'
                                                                                                      ,   Rççiver

                                                                                                  4/t{/t{
                      Case 3:17-cv-00223-RS Document 386 Filed 04/27/18 Page 30 of 35

                                                  San F¡ancisço Region4[ Center
                                                    Stlsan L. Uccker, Rèceiver
                                                          Balance Shcet
                                                           Maroh 3'1. 2018

                                                                 ASSETS

Cur¡em As$ets
Checking - Boston Priv¿te             $l            5,747.68
Market Rate . Boston Private                   24;399,119.37

 Total Çumsnt Asscts                                                       24¡3 14i867,05

Property and Equipment

 Total Prcperly and Equipment                                                        0,00

Other Assets

 Total Other Assets                                                                  0.00

 lbtal    Assets                                                   $       24,314,867.05



                                                 T,IA   BILITES AND CAPIT.AL

Current Lìubilities

Total Current Liabilities                                                            0i00

Long.Terr:r Liabilities

Total Long-Te¡m Liabi I itie¡                                                        0:00

Total Liabilíties                                                                    0.00

Capital
Beginning Equity                      s       (1,028,351:.70)
Turnovçr ftqm CS LP                              125tt79.84
TurnoVer fÞom ÇS Il                            7,9t 1,524,63
Turnster frorn CS UI                           8,7 I 9,83 5.20
 Turngver from CS Holding                      9,686,474-71
 Turnover liom CCOO                           (1,100;000.0û)
'Turnover
          lronr JL Gateway                       l0û,000.00
 Turrover from CA Gold Medal                     (50;o0o.oo)
'Turnover
          - Tesh LLC                                    226.74
l'umover - Trìbune Tavem                            I¡23ó:ól
Net Income                                       (5 r,258.98)

TotalCapíral                                                              24,314,967.05

Total Liabilities & Capital                                       $       24.3 t 4,967.05




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                                                                                      Fage:   Ì
                                               San Francisso Regionol Contsr
                                                 Susan L. Uecker, Receiver
                                                         Ineqme Statement
                                                    F¡rr the n'irs{ euarter 20Ig

                                        Cu-r'renl ,Quarter
Rçvenuest
 Interest Incorne                   $         18.,778.27
Refunds                                        2,   t59.95

Total ReVe¡ues                               20,938'.22


Expenges
 Opératjng Expense                            ?.,l''06.39
Po$tage Etpense                                    3ó.81
Taxes - Fedcral ,& State                     14,600"00
lT Expense                                   55,454,00

Total Expenses                               72,197.20

Net Income                         $       (5 ¡,258.eS)




                                          For M.anagemg¡t purposes Only
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                  STANDARÞIZED FUND ACCOUNTINGREPORT for NORTH AMERTCA gpL
                  Recelvérshlp Clvil Courl Oasè No..3:17,cv-00223,R$
                            Period:         1 to Ma¡ch 3 201



                                                                                               DotltII
          I       Boglnnlng Balanco (As of January 1, ¡010)
                                 ln   Fun:d.B.alanee:
       z'         Buslness lncoms.                                                             123;810,83         123,9't0J-3
 Ltn¡¡ 3               and S€cur¡üÞs-Trangfår ffom NASPL,Op                                    t49,7t0.09         149,110.09
 Line ¡l                                  l¡come                                                    5s4.s5            5õ4,35.
 Llne S           Buslness .A8eet Llqrirdêilon
 LinE.6           Perstjnal Asset Llquldatlon
 Llne 7           Th¡rd.P€rty Lltlgatlon lncome
 Llne     I         lscellansous - Othor                                                                 0.00           0,00
                   Totâl Fuhds Avallabfe {!-lnsp {              -   8)¡                        2Í4,0i6.27         274,076.27    lr2S4'998¡62
                                  in Fun:d Balance:
        9         Disburcements to lnvostors
        10                         for ROCè¡veishlp OpErãtlohs
        'loe                     lo ReceJræror Other Professlonals
 LIne. t0b        Eøsiness ássef Expenses                                                     363,407.08         363;407:08
 Llne 10c                  Asset Expenseç
 Line 10d                    Fxpenses
 Líne 10e                    Utigation Expensqc
                     1, A(lorney Fees
                     2. Lit¡gat¡on Expensês


        10f      Tax. A:drnlinlstrâló/, Fees.,Ðnd.gonds
        log      Faderal and Statø Tax Payments
                   Tg!.gl Ðl_B-þ!¡ß_enç.rrjg-l-olßgç9iy-er*s-_!rlp"9peIg!.1.-qI"s.   .   "    363¡QZ4q _
Llne    ll       Dlsbursements for Dlstrlbutlon Expenses paid by tfie'Fùnd:
 Llne l   la        Di st ribut¡pn Plan Deve lopment Efpersss.'
                      1, Fee$:
                             Fund Adhlnistralor..............
                             lndependent Dlslributlon Consultent (fOC),., ,., ,.
                             Þistrihution Agent..",
                             Consuftants,,..... . .,...



                      2, AdmlnistratiVe Expènsès
                      3: .Miìsceilaneoùs
                     TeleLP-lenD^e]y.€-,!ep&at.F.¡p-ense"n
       1Ib           A¡$dbatton Plan lùp[eme ntation E\penses;
                      1. Feès:
                           Fund Admlnrstråtoi..,...,.,........ ..,..
                           tDQ,.... ..
                           D¡stributjon Ag€nt.. .........,...,...
                           Consultants,.... .;. .,...-,.....,.,........
                            Legal Advisers..,.,
                            Tax Advlsers....,.
                     2, Administr€f¡ve Expensesl
                     3. lnvestor ldentlf¡eationl
                            Nót,cs/Publlähinþ Approved ptan,,.....
                            Clalmant ldentifl aat¡dn.......,,,,..,., ....
                            Õlalrns PrÊc€ssing
                            W€b Slte MâÍntenanoé/Call Cent¡e¡,
                     4. Fund Admlnislri¡lor Bond
                     5. Miscellane.ous,
                     6, Federal Account        br lnvsstor      Reslltution
                     (FAIR) Reporting Expenses

                  Totdt
Li¡e t2          ÞlsburEements to, Côurt/Othert
     l2a            lnve   itment Expa nse s/Co urt Registry tnvestme nt
                Sysfeø lCÆlS/ Fees
     12b           Fa:daral T.ax Paymenis
                 Total Dleburseûierile to Court/Translgr to Op
                 ïotâl Fuädb.Dlobûr6ed (Ltnes 9 f i)rj          -                            r363,407.0&        ,363i407,08     36S,407;08
     13         Ëñdlng Balanco:(A+ ol l|arc,h 31, 20f g);
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         14a            ìCsú*, E Câstr Equivarenß
                                                                                                      921 ,591,54                                921 ,5S1,54
         14b            /4vesfmonfs
         l4c            O/ôer Assais Or lJnçteare d. F uñds
                    Total Errdlng Balance of Fund                      -   ñet Assots                 s?1,Þe1,54                                 92'1t591,54


        ER $UPFLEIIJIENTAL IN


                             of íþms NOI Tø gê Pa¡d by lho.Fund;
 Lfñar 16                                                                                    Not Frtd by tho
        153

                              Fund Adm¡n¡strator..,..................,.....,.
                              lDç,. . ....,.

                              Consultants....,.;

                              Tãx ,Myisers... ...
                        2: Admlniiitrallve Expenses
                        3.


      15þ              Plan lmplomenlatioÐ Expênse.r Not paid by the
                        1, Fees:
                             Fund

                             Dislributìon.Agent,    .   ,...   .....
                             Consaitants....,,. ,
                             Legsl Advísêrs,...
                             Tax Advisers.....,
                        2. Administratlve Expenses
                        3. Investor ldèntifìcafion:
                             Noltc€JFubilshlng AÞÞiov€d pleñ,..,., ...,.,
                                                                          -....,..,,
                             ctÞlmânl  tdenfi ficatlon.., ....
                             ela.lms ProceEsing,...._..,....,......,,.
                             Wêh Site Mainlonance/Gall Cehtèr.,.,..,....., .....,.
                       4. Fund Adminlstmtor Bond
                       15.Miscellsneous
                                               Expenses.

    l5c             Tax                     F'oes & Eonds Nol                           lhe Fund

Llne 16                              to Cou r.fother nq! Pald by ths Fundr
    ,,16a
                   lnvè.stment Expenses;0R/S Fees
    16b            Feden¡t Tax P.aymêntd
                 'Total
    17             &
    18                  ela¡iÍs
    l8a            #   ol Clajms    Recç¡v.ed This Repotting penod,.,..,......,.
    18þ            # of C/âtrns Rec6lvod        Sirce Incøpllon cjt.Fund....
    {9             ol Clalmants/lnvestora:
    tga            # of C/âr¡nantslnves(ors Paíd nis F¿epaft¡ng Pqriod,
                                                                                                                 .,.'   r..r..r    ¡¡   ¡.r r,¡ ¡.;.   ¡: r;,:
    t9þ            #                             S,nce             Fund.,



    #
                                                                                                                                  Côrr.es                        NÞto6
    1          Total Ending Bâtance of Fund ^ Net Assete
                                                                                                   s21 ,591,54                    lncludes escfow rê.qerve of




                                                                                                                                                                         ..1-U-
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                                                         North America 3PL
                                                   Susan L..Uecker, Receive¡
                                                        llalsnce Sheet
                                                       March 13 I , 201 B

                                                                 ASSETE

 Curçnl" Assets
  Checking - NA3PL LLC                $        I,0,1 13..84
  Marker Rare-NA3pL LF                        56   r   .t0J.20
  Ma¡ket Rate-NA3PL LLC                       350, r 72.50

  Total Curre¡:t Assets
                                                                           92 I ,591 .54

 Properry and Equipnent

 Totat Pîôperty a¡rd Equipmenr
                                                                                  0.00

 Other Assets

 Totnl Other Assets                                                               0.00

 Total Assets                                                     s        9zt,59l   .54




                                             LIABILII'IES AND CA?IÎAL
Current LiabiHties
Investor F-unding                    $       559,099.00

 To-tal Cunent LiabiIíties
                                                                          559,099.00

I-ong:asrnì Liabll ities

Total Long-Tçrm Liabilities
                                                                                 0,oo
'Iotal LIabìlities
                                                                          559.0e9.00

Capital
Bqginning [quib1                             (39,240.S6)
Turrif¡ver Funds                             64Q,77s,3p
Net lnc,otne                                (23%o4r.e0)

Total Cqpita!
                                                                          362;492:54

Total Liabilities & Capital                                       $       g2I,sgt.54




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                                                                                      Fagel !
                                                      North i{rnerica 3PL
                                                   Susan L, Uecker, Receiver
                                                       Inçome Stste-ment
                                                   For. the    FirstQssrfgr 20J t

                                         Cunçnt Quarter
Revenues
'Service [ncóme                     $'      I   23,8 10.93
Intersst lncorìlo                                  554-35

TotâJ Revenues.                             t   24,3ú5.1   I

Expênses
Intercsf Expense                                      3.28
Operating Er<penses                         I94,780;55
Payroll                                         68,564,72
Employer'l'axes                                 I 1,380.36
Payroll Service Charge                           1.034. I 7
Rent o¡ Lease Expens.e                          80,000.00
'l'a"xes
         - Federal & State                       1,644.00

Total Expenses.                             363,407.08

Net Income                          $      (239,CI41.90)




                                            For Managemenf P-urposes Only
